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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
                                                         :
Kelly Price,                                             :
                                                         :
                                     Plaintiff(s),       :   15 Civ. _____
                                                             ___     5871 (KPF)
                                                         :
                      v.                                 :       CIVIL CASE
                                                         :   MANAGEMENT PLAN
City of New York, et al.,                                :    AND SCHEDULING
                                                         :         ORDER
                                     Defendant(s). :
                                                         :
-------------------------------------------------------- X

      This Civil Case Management Plan (the “Plan”) is submitted by the parties
in accordance with Fed. R. Civ. P. 26(f)(3).

1.                                                       X
        All parties [consent ______ / do not consent ______] to conducting all
        further proceedings before a United States Magistrate Judge, including
        motions and trial. 28 U.S.C. § 636(c). The parties are free to withhold
        consent without adverse substantive consequences. [If all parties
        consent, the remaining paragraphs need not be completed. Instead, the
        parties shall submit to the Court a fully executed SDNY Form Consenting to
        Proceed for All Purposes Before a Magistrate Judge, available at the
        Court’s website, http://nysd.uscourts.gov/judge/Failla, within three (3)
        days of submitting this Proposed Civil Case Management Plan and
        Scheduling Order.]

2.                                     X / have not ______] taken place.
        Settlement discussions [have ______

3.                          X / have not ______] conferred pursuant to Fed. R.
        The parties [have ______
        Civ. P. 26(f).

4.      Amended pleadings may not be filed and additional parties may not be
        joined except with leave of the Court. Any motion to amend or to join
        additional parties shall be filed within ______
                                                    30  days from the date of this
        Order. [Absent exceptional circumstances, a date not more than 30 days
        following the initial pretrial conference.]

5.      Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed
        no later than ______
                        30    days from the date of this Order. [Absent exceptional
        circumstances, a date not more than 14 days following the initial pretrial
        conference.]



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6.      [If applicable] The plaintiff(s) shall provide HIPAA-compliant medical
        records release authorizations to the defendant(s) no later than
        _____________________________.
         N/A HIPAA provided


7.      Discovery

        a. The parties are to conduct discovery in accordance with the Federal
           Rules of Civil Procedure and the Local Rules of the Southern District
           of New York.

        b. The parties are to discuss, if and as appropriate, provisions for the
           disclosure, discovery, or preservation of electronically stored
           information (ESI). Any agreement reached between the parties
           concerning ESI is to be filed within 30 days from the date of this
           Order.

        c. The parties are to discuss whether a procedure for designating
           materials as confidential is necessary in this matter. Any agreement
           between the parties for designating materials as confidential must
           conform to the Court’s Individual Rules regarding the filing of
           materials under seal. Any confidentiality agreement between the
           parties is to be filed within 30 days from the date of this Order.

        d. The parties are also to discuss protocols for asserting claims of
           privilege or of protection as trial-preparation material after such
           information is produced, pursuant to Federal Rule of Evidence 502.
           Any agreement reached between the parties concerning such
           protocols is to be filed within 30 days from the date of this Order.

        e. All fact discovery shall be completed no later than __________________.
                                                                5 months from the date of this Order

           [A date not more than 120 days following the initial pretrial conference,
           unless the Court finds that the case presents unique complexities or
           other exceptional circumstances.]

        f. All expert discovery, including reports, production of underlying
           documents, and depositions, shall be completed no later than
           ______________________.
           45 days from the date in 7(e) [Absent exceptional circumstances, a date not
           more than 45 days from the date in paragraph 7(e) (i.e., the completion
           of all fact discovery).]




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8.      Interim Discovery Deadlines

        a. Initial requests for production of documents shall be served by
           ______________________.
           6 weeks from the date of this Order


        b. Interrogatories pursuant to Rule 33.3(a) of the Local Civil Rules of the
           Southern District of New York shall be served by ____________________.
                                                             6 weeks from the date of this Order

           No Rule 33.3(a) interrogatories need to be served with respect to
           disclosures automatically required by Fed. R. Civ. P. 26(a).

        c. Unless otherwise ordered by the Court, contention interrogatories
           pursuant to Rule 33.3(c) of the Local Civil Rules of the Southern
           District of New York must be served no later than 30 days before the
           close of discovery. No other interrogatories are permitted except upon
           prior express permission of the Court.

        d. Depositions of fact witnesses shall be completed by _________________.
                                                               close of fact discovery


                 i. Absent an agreement between the parties or an order from the
                    Court, depositions are not to be held until all parties have
                    responded to initial requests for document production.

                ii. There is no priority in deposition by reason of a party’s status
                    as a plaintiff or a defendant.

               iii. Absent an agreement between the parties or an order from the
                    Court, non-party depositions shall follow initial party
                    depositions.

        e. Requests to admit shall be served by ______________________.
                                                one month before close of fact discovery



        f. Any of the deadlines in paragraphs 8(a) through 8(e) may be extended
           by the written consent of all parties without application to the Court,
           provided that all fact discovery is completed by the date set forth in
           paragraph 7(e).

        g. No later than 30 days prior to the date in paragraph 7(e) (i.e., the
           completion of all fact discovery), the parties shall meet and confer on
           a schedule for expert disclosures, including reports, production of
           underlying documents, and depositions, provided that (i) expert
           report(s) of the party with the burden of proof shall be due before
           those of the opposing party’s expert(s); and (ii) all expert discovery
           shall be completed by the date set forth in paragraph 7(f).




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9.      All motions and applications shall be governed by the Federal Rules of
        Civil Procedure, the Local Rules of the Southern District of New York,
        and the Court’s Individual Rules of Practice in Civil Cases (“Individual
        Rules”), which are available at http://nysd.uscourts.gov/judge/Failla.

10.     In the case of discovery disputes, parties should follow Local Civil
        Rule 37.2 with the following modifications. Any party wishing to raise a
        discovery dispute with the Court must first confer in good faith with the
        opposing party, in person or by telephone, in an effort to resolve the
        dispute. If this meet-and-confer process does not resolve the dispute,
        the party may submit a letter to the Court, no longer than three pages,
        explaining the nature of the dispute and requesting an informal
        conference. Such a letter must include a representation that the meet-
        and-confer process occurred and was unsuccessful. If the opposing
        party wishes to respond to the letter, it must submit a responsive letter,
        not to exceed three pages, within three business days after the request is
        received. Counsel should be prepared to discuss with the Court the
        matters raised by such letters, as the Court will seek to resolve discovery
        disputes quickly, by order, by conference, or by telephone.

11.     All counsel must meet in person for at least one hour to discuss
        settlement within 14 days following the close of fact discovery EXCEPT in
        cases brought as putative collective actions under the Fair Labor
        Standards Act, in which case counsel must meet to discuss settlement
        within 14 days following the close of the opt-in period.

12.     Alternative dispute resolution/settlement

        a. Counsel for the parties have discussed an informal exchange of
            information in aid of early settlement of this case and have agreed
            upon the following:
        __________________________________________________________________
        N/A
        __________________________________________________________________
        __________________________________________________________________
        __________________________________________________________________

        b. Counsel for the parties have discussed the use of the following
             alternate dispute resolution mechanisms in this case: (i) a settlement
             conference before a Magistrate Judge; (ii) participation in the District’s
             Mediation Program; and/or (iii) retention of a privately retained
             mediator. Counsel for the parties propose the following alternate
             dispute resolution mechanism for this case:
        __________________________________________________________________
        Plaintiff proposes a settlement conference before a Magistrate Judge after the close of discovery.
        __________________________________________________________________
        Defendants propose a settlement conference before Judge Failla before commencing depositions.
        __________________________________________________________________
        __________________________________________________________________

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         c. Counsel for the parties recommend that the alternate dispute
              resolution mechanism designated in paragraph 12(b) be employed at
              the following point in the case (e.g., within the next 60 days; after the
              deposition of plaintiff is completed (specify date); after the close of fact
              discovery):
         __________________________________________________________________
         Plaintiff proposes that ADR be employed after the close of discovery.

         __________________________________________________________________
         Defendants propose that ADR be employed before commencing depositions.
         __________________________________________________________________
         __________________________________________________________________

         d. The use of any alternative dispute resolution mechanism does not
            stay or modify any date in this Order.

13.      Absent good cause, the Court will not ordinarily have summary judgment
         practice in a non-jury case. Before filing a summary judgment motion,
         the moving party must file a pre-motion submission pursuant to Section
         (A) of the Court’s Individual Rules. The submission shall be filed within
         30 days of the close of fact or expert discovery, whichever comes later.

14.      Similarly, any motion to exclude the testimony of experts pursuant to
         Rules 702-705 of the Federal Rules of Evidence and the Daubert v.
         Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), line of cases, is
         to be filed within 30 days of the close of fact or expert discovery,
         whichever is later. Unless otherwise ordered by the Court, opposition to
         any such motion is to be filed two weeks after the motion is served on the
         opposing party, and a reply, if any, is to be filed one week after service of
         any opposition.

15.      Unless otherwise ordered by the Court, within 30 days of the close of all
         discovery, or, if a dispositive motion has been filed, within 30 days of a
         decision on such motion, the parties shall submit to the Court for its
         approval a Joint Pretrial Order prepared in accordance with the Court’s
         Individual Rules and Fed. R. Civ. P. 26(a)(3). The parties shall also follow
         Paragraph 5 of the Court’s Individual Rules, which paragraph identifies
         submissions that must be made at or before the time of the Joint Pretrial
         Order, including any motions in limine.

16.      If this action is to be tried before a jury, joint requests to charge, joint
         proposed verdict forms, and joint proposed voir dire questions shall be
         filed on or before the Joint Pretrial Order due date in accordance with the
         Court’s Individual Rules. Jury instructions may not be submitted after
         the Joint Pretrial Order due date, unless they meet the standard of Fed.
         R. Civ. P. 51(a)(2)(A). If this action is to be tried to the Court, proposed
         findings of fact and conclusions of law shall be filed on or before the


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      Joint Pretrial Order due date in accordance with the Court’s Individual
      Rules.

17.   Unless the Court orders otherwise for good cause shown, the parties
      shall be ready for trial 30 days after the Joint Pretrial Order is filed.

18.   This case [is ______
                     X     / is not ______] to be tried to a jury.

19.   Counsel for the parties have conferred and the present best estimate of
      the length of trial is ______________________.
                              4 days


20.   Other issues to be addressed at the Initial Pretrial Conference, including
      those set forth in Fed. R. Civ. P. 26(f)(3), are set forth below.
      __________________________________________________________________
      __________________________________________________________________
      __________________________________________________________________
      __________________________________________________________________


Counsel for the Parties:


_________________________________
Kelsie A. Docherty                            _________________________________
                                              Debra March




_________________________________
Attorney for Plaintiff Kelly Price            _________________________________
                                              Attorney for Defendants




_________________________________             _________________________________


_________________________________             _________________________________




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TO BE FILLED IN BY THE COURT IF APPLICABLE:

      ___________________ shall file a motion for ______________________ no later
than ____________________________. Any opposition shall be filed by __________
and any reply shall be filed by _____________. One courtesy copy of all motion
papers, marked as such, shall be mailed or hand delivered to the Court by the
movant at the time the reply is served. All courtesy copies should be GRXEOH
VLGHGthree-hole punched, tabbed, and placed in binders as specified in the
Court’s Individual Rules.


      The next pretrial conference is scheduled for ______________________ at
______________ in Courtroom 618 of the Thurgood Marshall Courthouse,
40 Foley Square, New York, New York 10007.

      By Thursday of the week prior to that conference, the parties shall
submit via e-mail (Failla_NYSDChambers@nysd.uscourts.gov) a joint letter, not
to exceed three pages, regarding the status of the case. The letter should
include the following information in separate paragraphs:

   (1) A statement of all existing deadlines, due dates, and/or cut-off dates;
   (2) A brief description of any outstanding motions;
   (3) A brief description of the status of discovery and of any additional
       discovery that needs to be completed;
   (4) A statement describing the status of any settlement discussions and
       whether the parties would like a settlement conference;
   (5) A statement of the anticipated length of trial and whether the case is to
       be tried to a jury;
   (6) A statement of whether the parties anticipate filing motions for summary
       judgment, including the basis of any such motion; and
   (7) Any other issue that the parties would like to address at the pretrial
       conference or any information that the parties believe may assist the
       Court in advancing the case to settlement or trial.




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      This Order may not be modified or the dates herein extended, except by
further Order of this Court for good cause shown. Unless the Court orders
otherwise, parties engaged in settlement negotiations must proceed on parallel
tracks, pursuing settlement and conducting discovery simultaneously. Parties
should not assume that they will receive an extension of an existing deadline if
settlement negotiations fail. Any application to modify or extend the dates
herein (except as provided in paragraph 8(f)) shall be made in a written
application in accordance with the Court’s Individual Rules and must be made
no fewer than two business days prior to the expiration of the date sought to be
extended.

      SO ORDERED.

                                               _______________________________
                                                  KATHERINE POLK FAILLA
                                                 United States District Judge

Dated:        ________________, 201
              New York, New York




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